                      Case 1:16-cv-00482-SGB Document 8 Filed 09/30/16 Page 1 of 4


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                                                                  No. 16-482
                                                          Filed: September 30, 2016                         FILED
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                                                                                                         U.S. COURT OF
                                                                                                        FEDERAL CLAIMS
REJEANA MERRIMAN,

                   Plaintiff, pro se,                                        '    Jurisdiction;
                                                                                  Tucker Act,28 U.S.C. g 1491
                                                                             *    RCFC l2(bxl ) (Motion to Dismiss)
THE UNITED STATES,
                                                                             :
                   Defendant.


***    ** * ** * * * ** * *** ** * ***+ * ** * **** * ***              ****
Rejeana Merriman, Trrcson, Arizona, pro se.

Jeffery David Klingman, United States Department ofJustice, Civil Division, Washington, D.C.,
Counsel for the Govemment.

                                           MEMORANDUM OPINION AND ORDER
BRADEN,"/zdge.

I.             RELEVANTFACTUALBACKGROUND.'

       On April 18,2016, a Complaint was filed in the United States Court of Federal Claims by
Rejeana Merriman, the mother of Dominic Liebe Monier-Moreno. The complaint alleges a
number of tort, civil rights, and criminal claims against individuals and state offrcials. Compl. at
2. The complaint alleges that Ms. Meniman was raped by Michael Allen Moreno2 and that he
committed acts of domestic violence against her and Dominic. Compl. at 4, 8, 5l-68.

        The April 18,2016 Complaint also alleges misconduct by state officials, i.e. Arizona state
court judges, attomeys, a secretary, a police investigator, and a psychologist. Compl. at S, 7-9,,
l1-18. other claims alleged include: "negligent judges and attomeys;" 'Judicial misconduct;"
"[d]eliberate and malicious actions of judicial officials and attomeys;" "misrepresentations,

      ' The relevant facts discussed herein were derived from the April 18, 2016 Complaint
("Compl.").
               2
                   Mr. Moreno is Dominic's father.




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           Case 1:16-cv-00482-SGB Document 8 Filed 09/30/16 Page 2 of 4




 malicious prosecution actions and deliberate deceit;" "slander[,] libel and defamation of
 character;" 'Judicial officials . . . failing to protect and aiding and assisting [a] rapist and [an]
 attomey;" "virtually kidnapping;" "attempts to aid and assist the case to legally kidnap a child
 from his mother;" and "aiding and assisting in legal rape." Compl. at7-9, I l-18, 19, 22-23,25-
 28.

 IL      PROCEDURALHISTORY.

       On April 18, 2016, Ms. Merriman ("Plaintiff') filed a Complaint in the United States Court
 ofFederal Claims and a Motion For Leave To Proceed In Forma pauperis.

         On May 23,2016, the court issued an Order granting Plaintiffs Motion for Leave to
 Proceed In Forma Pauperis.

       On June 17,2016, the Govemment filed a Motion To Dismiss (,.Gov't Mot.'), pursuant to
 Rule 12(b)(l) of the Rules of the United States Court of Federal Claims C.RCFC).

         On July 6, 2016, Plaintiff frled a Response (.,P1. Resp.").

 III.    DISCUSSION.

         A.      Jurisdiction.

         The United States Court of Federal Claims has jurisdiction under the Tucker Act, 28 U.S.C.
$  1491,  "to render judgment upon any claim against the United States founded either upon the
constitution, or any Act of congress or any regulation of an executive department, or upon any
exprcss or implied contract with the United States, or for liquidated or unliquidated damages in
cases not sounding in tort." 28 u.s.c. $ 1a91(a)(1). The Tucker Act, however, is ..a jurisdictional
statute; it does not create any substantive right enforceable against the United States for money
damages . . . ' [T]he Act merely confers jurisdiction upon [the United States Court of Federal
claims] whenever the substantive right exists." unitedstatesv. Testan,424ll.s.3gz,39g (1976).

           To pursue a substantive right under the Tucker Act, a plaintiff must identiS and plead an
independent contractual relationship, constitutional provision, federal statute, and/or executive
agency regulation that provides a substantive right to money damag es. See Todd v. United States,
386 F.3d 1091, 1094 (Fed. Cir. 2004) ("plurisdiction under the Tucker Act requires the litigant to
identify a substantive right for money damages against the United States separate from the Tucker
 Act . . . ;'); see also Fisher v. united states,402F.3d 1167,ll72 (Fed. cir.2005) (en banc) (..The
 TuckerAct...doesnotcreateasubstantivecauseofaction;...aplaintiffmustidentiffaseparate
source of substantive law that creates the right to money damages . . . .
                                                                                  [T]hat source must be
 'money-mandating."'). Specifically, a plaintiff must demonstrate that the source of substantive
law that he relies upon "can fairly be interpreted as mandating compensation by the Federal
Govemment." united states v. Mitchell,463 u.s. 206,216 (1gg3) (quoting Testan,424rJ.s. at
400). And, the plaintiff bears the burden of establishing jurisdiction by a preponderance of the
evidence. see Reynolds v. Army & Air Force Exch. serv., g46 F.zd 746,149 Ged. cir. 1988)
("[o]rrce the [trial] court's subject matter jurisdiction [is] put in question. . . .
                                                                                      [The plaintiff] bean
the burden ofestablishing subject matter jurisdiction by a preponderarrce of the evidence.").
           Case 1:16-cv-00482-SGB Document 8 Filed 09/30/16 Page 3 of 4




         B.      Standard of Review for a Motion to Dismiss Pursuant to RCFC 12(bxl).

          A challenge to the United States Court of Federal Claims' "general power to adjudicate in
 specific areas of substantive law. .is properly raised by a [RCFC] 12(bxl) motion.,'
 Palmer v. United States,l68 F.3d 1310, 1313(Fed.Cir. 1999);see alsoRCFC l2(bxl) (allowing
 a party to assert, by motion, "lack of subject-matter jurisdiction"). When considering whether to
 dismiss an action for lack ofsubject matter jurisdiction, the court is "obligated to assume all factual
 allegations [of the complaint] to be true and to draw all reasonable inferences in plaintiffs favor."
 Henk v. United States, 60 F.3d, 795, 7 97 (F ed. Cir. I 995).

        C.      The Government's July 22, 2013 Motion to Dismiss.

                l.      The Government's Argument.

        The Govemment argues that the claims alleged in PtaintifPs April 18,2016 Complaint are
not within the subject matter jurisdiction of the court. Gov't Mot. at 1, 4. The United States Court
ofFederal Claims does not have subject matter jurisdiction over claims against private individuals
or state officials. see united states v. sherwood,312 u.s.584,588 (l9al) (,.[The tjnited states
Court of Federal Claimsl is without jurisdiction ofany suit brought against private partie s."); see
also Fullard v. united states,78 Fed. cl. 294,301(2007) ('trlhe united states court ofFederal
Claims does not have jurisdiction to fadjudicatel claims against states or state officials."). In
addition, PlaintifPs tort and civil rights claims are not within the court'sjurisdiction. See 28 U.S.C.
$ 1491(a)(1); see also Trafny v. united states,503 F.3d 1339, 1340 (Fed. cir.2007) (..Because all
of [the plaintiffs] claims are based on the Eighth Amendment or .ue essentially iort claims, the
Court of Federal Claims lacked subject rnatter jurisdiction over this case . . . .,'). No, does the
court have subject matter jurisdiction over claims govemed by the federal criminal code. See
Joshua v. united states, 17 F.3d378,379 (Fed. cir. 1994) (affirming a United states court of
Federal Claims order dismissing plaintifPs criminal claims). All of Plaintiffs claims are ron,
criminal, or civil rights claims against individuals or state offrcials. Therefore, the April 18,2016
Complaint should be dismissed pursuant to RCFC l2(bxl).

                2.     The Plaintif?s Response.

  _    Plaintiffresponds by urging the court not to dismiss this case because of injustice, judicial
misconduct, and lack of resoruces to properly litigate claims. pl. Resp. at 4.

               3.      The Courtrs Resolution.

         Pro se plaintiffs' pleadings are reviewed under a less stringent standard than those of
litigants represented by counsel. see Haines v. Kerner,404 u.s. 5Ig, s2o (1972) (holding that
pro se complaints, "however inartfully pleaded," are held to "less stringent standards than formal
pleadings drafted by lawyers"). The United States Court of Federal Claims traditionally has
examined the record "to see if fa pro se) plaintiff has a cause of action somewhere displayed."
Ruderer v. united,st4res, 188 cl. ct.456, 469 (1969). Nevertheless, although the court may
excuse ambiguities in a pro se plaintifPs complaint, the court ..does not             complaint's]
failures." Henke, 60 F .3d, at 799.                                        "*"or" 1a
            Case 1:16-cv-00482-SGB Document 8 Filed 09/30/16 Page 4 of 4




     Plaintiffs April 18,2016 Complaint and July 6,2016 Response ln Opposition To The
Govemment's Motion To Dismiss do not establish that Plaintiffs chims implicate the United
States on a jurisdictional basis. Under the Tucker Act, the United States Court of Federal Claims
has jurisdiction  to adjudicate "any claim against the United States founded either upon the
Constitution, or any Act of Congress or any regulation ofan executive department, or upon any
express or implied contract with the United States, or for liquidated or unliquidated damages in
cases not sounding in   tort." 28 U.S.C. $ l49l(a)(l).
        Plaintiffs April 18, 2016 Complaint is directed against private individuals and members
of the state judiciary of Arizona. No claim alleged is against the United States. Therefore the
court does not have subject matter jurisdiction over the allegations in the April 18, 2016 Complaint.
See 28 U.S.C. $ l49l(aXl); see also Sherwood,3l2 U.S. at 588.



IV.    CONCLUSION.

      For these reasons, the Govemment's June 17, 2016 Motion to Dismiss is granted in this
case. See RCFC l2OXl). Accordingly, the Clerk is directed to dismiss the April 18, 2016
Complaint.


       IT IS SO ORDERED.
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                                                         SUSAI\IG.BRADEN
                                                         Judge




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